        Case 1:17-cr-00010-DLH          Document 59        Filed 03/15/17     Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA

United States of America,                     )
                                              )      ORDER GRANTING FURLOUGH
               Plaintiff,                     )
                                              )
       vs.                                    )
                                              )
Nathaniel Preston Smith,                      )
                                              )      Case Nos. 1:17-cr-009 and 1:17-cr-010
               Defendant.                     )


       On March 13, 2017, defendant made his initial appearance on a petition for revocation of his

pretrial release conditions. Pursuant to its discussion with the parties, the court GRANTS defendant

a furlough so that he may attend an evaluation scheduled for 2:30 p.m. on March 21, 2017, at

Chambers & Blohm Psychological Services (“Chambers & Blohm”) in Bismarck, North Dakota.

       Accordingly, defendant shall be released to his mother no earlier than 1:00 p.m. on March

21, 2017, for transport to his evaluation at Chambers & Blohm. Upon completion of the evaluation,

defendant shall immediately return to the McLean County Detention Center, where he shall be

remanded back into the custody of the Attorney General or designated representative.

       IT IS SO ORDERED.

       Dated this 15th day of March, 2017.

                                              /s/ Charles S. Miller, Jr.
                                              Charles S. Miller, Jr., Magistrate Judge
                                              United States District Court
